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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-2110- SKC

ADAM C. GOETSCH,

       Plaintiff,

X BAR FLY, INC., a Colorado Corporation,
d/b/a Sato, DOWNTOWN BROWN, a Colorado limited liability company,
d/b/a Café 163, and PETER TILDEN MUELLER, an individual,

       Defendants.


                ENTRY OF APPEARANCE OF MICHAEL G. BROWNLEE


TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

       I hereby certify that I am a member in good standing of the bar of this court, and appear in

this case as counsel for Defendants, X BAR FLY, INC., a Colorado Corporation, d/b/a Sato,

DOWNTOWN BROWN, a Colorado limited liability company, d/b/a Café 163, and Peter Tilden

Mueller.

       Dated this 29th of March 2021

                                                    BROWNLEE & ASSOCIATES, LLC



                                             By:    /s/ Michael G. Brownlee
                                                    Michael G. Brownlee, #40543
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of March 2021, I filed via CM/ECF and which will
serve the foregoing on all parties at their respective email addresses listed below:

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Counsel for Plaintiff

                                                   /s/ Michael G. Brownlee
                                                   Michael G. Brownlee




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